                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
                            WESTERN DIVISION


United States of America,                  )       Case No. 3:21-CV-00022
                                           )
                                           )       Hon. Jack Zouhary
                  Plaintiff,               )
                                           )       DEFENDANTS’ ANSWER WITH JURY
                                           )       DEMAND
     v.                                    )
                                           )       Richard M. Kerger (0015864)
                                           )       Kimberly A. Conklin (0074726)
Shaffer Pharmacy, Inc., et al.,            )       THE KERGER LAW FIRM, LLC
                                           )       4159 N. Holland-Sylvania Rd., Ste. 101
                                           )       Toledo, OH 43623
                 Defendant.                )       Telephone: (419) 255-5990
                                           )       Fax: (419) 255-5997
                                           )       Email: rkerger@kergerlaw.com
                                           )
                                           )       Counsel for Defendants
                                           )       Shaffer Pharmacy, Inc. and Thomas
                                           )       Tadsen


              Now come Defendants through the undersigned counsel and as their

Answer to the Complaint filed herein state as follows:


              1. Admitted.

              2. Denied.

              3. Denied.

              4. Denied.

              5. Admitted.

              6. Admitted.

              7. Admitted.

              8. Admitted.

              9. Admitted.
              10. Admitted.

              11. Admitted.

              12. Admitted.


              13.     Admit the existence of the statute and further answering deny the other

allegations contained in paragraph 13.

              14.     Admitted.

              15.     Admitted.

              16.     Admitted.

              17.     Admitted.

              18.     Admitted.

              19.     Admitted.

              20.     Admitted.

              21.     Admitted.

              22.     Admitted.

              23.     Admitted.

              24.     Admitted.

              25.     Admitted.

              26.     Admitted.

              27.     Admitted.

              28.     Admitted.

              29.     Admitted.

              30.     Admitted but defendant made the purchases alleged but denies there is

any significance to the fact their purchasing volume exceeded Ohio state averages.

              31.     Denied.

              32.     Denied.

                                               2
            33.   Admitted.

            34.   Denied.

            35.   Denied.

            36.   Denied.

            37.   Denied.

            38.   Admitted but denies the prescriptions were not for legitimate medical

purposes.

            39.   Denied.

            40.   Denied.

            41.   Admitted.

            42.   Admitted.

            43.   Denied.

            44.   Denied.

            45.   Denied.

            46.   Admitted.

            47.   Denied.

            48.   Denied for want of knowledge of what “substance use disorder”.

            49.   Denied.

            50.   Denied.

            51.   Admitted.

            52.   Admitted.

            53.   Denied.

            54.   Denied.

            55.   Denied.

            56.   Admitted.


                                           3
              57.    Denied.

              58.    Denied.

              59.    Denied.

              60.    Admitted.

              61.    Admitted.

              62.    Denied.

              63.    Denied.

              64.    Denied.

              65.    Admitted.

              66.    Denied.

              67.    Denied.

              68.    Denied.

              69.    Admitted.

              70.    Admitted.

              71.    Denied.

              72.    Denied.

              73.    Denied.

              74.    Admitted.

              75.    Admit that the combinations may be harmful and further answering

admit the balance of the paragraph.

              76.    Denied.

              77.    Admitted.

              78.    Admitted.

              79.    Denied.

              80.    Denied.


                                            4
               81.    Denied.

               82.    Admitted.

               83.    Denied.

               84.    Denied.

               85.    Admitted.

               86.    Admitted.

               87.    Denied.

               88.    Denied.

               89.    Denied.

               90.    Denied.

               91.    Denied.

               92.    Denied.

               93.    Admitted.

               94.    Admitted.

               95.    Denied.

               96.    Denied.

               97.    Defendants incorporate by reference the statements contained in

paragraphs 1 through 96 as if fully rewritten herein.

               98.    Denied.

               99.    Denied.

               100.   Denied.

               101.   Defendants incorporate by reference the statements contained in

paragraphs 1 through 100 as if fully rewritten herein.

               102.   Denied.

               103.   Denied.


                                                5
                104.    Denied.



                                FIRST AFFIRMATIVE DEFENSE

                Defendants state Plaintiff’s Complaint fails to set forth claims upon which relief

may be granted.

                              SECOND AFFIRMATIVE DEFENSE

                Defendants at all times and after reasonable verification, relied on the

prescription provided by legitimate physicians engaged in pain management.

                               THIRD AFFIRMATIVE DEFENSE

                Defendants at all times provided appropriate care for their patients which

required Defendants to fill out prescriptions which were out of the normal practice in order to

provide pain relief for their patients.

                               FOURTH AFFRIMATIVE DEFENSE

                Plaintiff’s claims are barred by the Statute of Limitations.



                                          JURY DEMAND


                Now comes Defendant through the undersigned counsel and prays for a trial by

jury of all issues so properly tried.




                                              Respectfully submitted,


                                              /s/ Richard M. Kerger               ___
                                              Counsel for Defendants,
                                              Shaffer Pharmacy, Inc. and Thomas Tadsen


                                              /s/ Charles M. Boss
                                              Counsel for Defendant
                                              Wilson Bunton
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                             CERTIFICATE OF SERVICE

               This is to certify that a copy of the foregoing has been electronically filed
this 9th day of March, 2021. Notice of this filing will be sent to all parties by operation
of the Court’s electronic filing system. Parties may access this filing through the Court’s
System.

                                          /s/ Richard M. Kerger




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